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                 IN THE UNITED STATES DISTRICT COURT
                   SOUTHERN DISTRICT OF NEW YORK


COMPASS, INC. and COMPASS RE NY LLC,        Case No.: 1:21-cv-02195-LGS

                   Plaintiffs,

            v.

REAL ESTATE BOARD OF NEW YORK, INC.,

                   Defendant.




 REPLY MEMORANDUM OF LAW IN SUPPORT OF NON-PARTY SUBPOENA
  RECIPIENT DOUGLAS ELLIMAN, LLC’S MOTION FOR ITS REASONABLE
ATTORNEY’S FEES INCURRED IN RESPONDING TO PLAINTIFFS’ SUBPOENAS




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         Non-party subpoena recipient Douglas Elliman, LLC (“Elliman”), by its undersigned

counsel, respectfully submits this reply memorandum of law in further support of its motion,

pursuant to Federal Rule of Civil Procedure 45(d)(1) (“Motion”), for its reasonable attorney’s fees

and costs incurred in responding to two subpoenas issued by Compass, Inc. and Compass NY RE,

LLC (collectively, “Compass” or “Plaintiff”), and in support thereof respectfully represents as

follows:1

                                       PRELIMINARY STATEMENT

         In its Motion, Elliman demonstrated that Compass (i) knowingly filed a meritless case, (ii)

issued subpoenas to non-party Elliman that should not have been issued, and (iii) failed to notify

Elliman for an entire month that it should cease incurring legal fees because Compass had

determined it would dismiss the meritless case.                     Compass’s opposition to the Motion

(“Opposition”) does not sufficiently address these points but does confirm the law (in a case it

cites three times): “When a subpoena should not have been issued, literally everything done in

response to it constitutes ‘undue burden or expense’ within the meaning of Civil Rule 45([d])(1).”

Breaking Media, Inc. v. Jowers, 2021 WL 1299108, at *7 (S.D.N.Y. Apr. 7, 2021) (citation and

internal quotation marks omitted). That is precisely what happened here. It was an undue burden

on Elliman to respond to, work to narrow, and review documents and prepare a production set in

response to a subpoena that Compass should never have issued.2

         Compass’s Opposition has failed to address and does not deny – because it can’t – that its

founder and chief executive officer (and then-REBNY representative) voted in favor of the very


1
         Undefined capitalized terms shall have the meanings ascribed to them in Elliman’s opening memorandum
of law. See generally ECF No. 97.

2
         Even assuming that Compass did not intentionally bring a meritless case, Elliman’s legal fees should be
covered because bad faith is not a prerequisite to an award of attorney’s fees under Rule 45(d)(1). See In re: Mod.
Plastics Corp., 890 F.3d 244, 251 (6th Cir. 2018), cert. denied, 139 S. Ct. 289 (2018).
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REBNY rule that Compass claimed was the crux of the antitrust conspiracy underlying its

complaint. See generally ECF No. 99 (“Opp.); see also ECF No. 98 at ¶ 21. Compass therefore

should never have brought its suit and issued the corresponding subpoenas. Compass tries to

defend the merits of its suit by pointing to the fact that its complaint survived a motion to dismiss.

See Opp. at 6-8. But the fact that a complaint survives a motion to dismiss is not evidence that a

case has merit; it is only evidence that a complaint meets pleading standards. In ruling on the

motion to dismiss in this case, the Court did not consider the fact that Compass itself voted in favor

of the rule that purportedly embodied an anti-Compass conspiracy and was purportedly “conceived

specifically with thwarting Compass is mind.” ECF No. 1 ¶ 6.

         Further demonstration of the lack of merit in Compass’s case is that Compass sought

voluntary dismissal of its own case, before even receiving the fruits of any discovery,3 and without

citing any changes to REBNY rules or changes in Elliman’s behavior. Compass thus conceded,

at the very least, that its suit was not worth maintaining and that all of the discovery obligations it

placed on Elliman were entirely superfluous.

         In these circumstances, Compass should be sanctioned under Rule 45(d)(1) for forcing a

non-party to incur substantial legal fees in a case Compass conceded was not worth maintaining,

and Elliman should be awarded its attorney’s fees. A non-party subpoena recipient “‘is protected

against significant expense resulting from involuntary assistance to the court.’” In re Novartis &



3
          Contrary to Compass’s implications, see Opp. at 1, it does not matter that Elliman never actually produced
the documents it reviewed and prepared for production in response to Compass’s subpoenas. Within days of
Elliman preparing a final production set, Compass sought to voluntarily dismiss its suit. And to that point, the
parties to the case themselves had not yet exchanged any discovery. It was of course only reasonable for Elliman to
wait until the parties themselves began producing documents (which would indicate, for example, that the parties
could not settle prior to the receipt of discovery materials) before Elliman produced its confidential information to a
competitor. But the fact that Elliman never actually produced the materials is due entirely to Compass’s own
decision to dismiss rather than to prosecute its case. Compass does not question that Elliman actually did the work
to conduct a document review of approximately 43,000 items and prepare a production set of approximately 3,500
items—all at Compass’s instigation.


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Par Antitrust Litig., No. 18 CIV. 4361 (AKH), 2020 WL 3317203, at *5 (S.D.N.Y. June 18, 2020)

(quoting Fed. R. Civ. P. 45 Application Note); see also id. (“Trial courts have broad discretion to

determine whether a subpoena imposes an undue burden” and “courts are instructed to be

especially solicitous of non-party targets of subpoenas” (citations and internal quotation marks

omitted)).

       “Undue burden is to be assessed in a case-specific manner,” In re: Mod. Plastics Corp.,

890 F.3d at 251, and here—where Compass should never have filed its suit and conceded (by

dropping its suit) that the obligations it placed on Elliman were entirely superfluous—Elliman has

plainly suffered an undue burden.       The cases Compass cites involve completely different

circumstances. For example, Compass cites Chevron Corp v. Donziger, 2013 WL 1087236

(S.D.N.Y. Mar. 15, 2013) three times, including for the proposition that “courts are reluctant to

find an undue burden” where the non-party is an alleged co-conspirator. See Opp. at 6, 9, 11 (citing

2013 WL 1087236 (S.D.N.Y. Mar. 15, 2013)). But that case could not be further afield from the

situation here. There, Chevron alleged that the defendants violated RICO by obtaining through

fraud an $18.2 billion judgment against Chevron in an Ecuadorian court. See 2013 WL 1087236

at *1. The court denied non-party law firm Patton Boggs LLP’s motion for fees for responding to

Chevron’s discovery requests, and in doing so, the court explained that Patton Boggs had

represented the plaintiffs in the Ecuadorian action and stood “to reap a fee that has been estimated

at hundreds of millions of dollars if the [Ecuadorian judgment] is enforced and collected.” Id. at

*32. The court further explained that Patton Boggs “has sued Chevron on its own behalf at least

three times on claims relating to this controversy.” Id. at 1. These considerations—not simply the

mere fact that Patton Boggs was an alleged co-conspirator—led the court to refer to Patton Boggs

as “no ordinary, unrelated non-party witness[.]” Id. at *32. Meanwhile, none of Compass’s cases




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deal with the scenario at issue here, where basic facts that the plaintiff knew or should have known

flatly disprove its allegations, and where the plaintiff itself sought dismissal of its own case, even

before receiving any fruits of discovery—thereby conceding that its case was, at the very least, not

worth maintaining, and that the discovery obligations it placed on subpoena recipients were

superfluous and undue burdens.4

         Compass further fails to explain why it did nothing to curtail Elliman’s burden at the point

it decided to drop the meritless lawsuit. Indeed, when, in its Opposition, Compass states it “is

aware of no such duty” (Opp. at 12) to inform Elliman that it would dismiss its suit (which would

have reduced the burden on Elliman), Compass essentially admits it never considered itself

responsible to “take reasonable steps to avoid imposing undue burden or expense on a person

subject to the subpoena” as required under the law. Fed. R. Civ. P. 45(d)(1).

         If Elliman is not “‘protected against significant expense resulting from involuntary

assistance to the court,’” In re Novartis & Par Antitrust Litig., 2020 WL 3317203, at *5 (quoting

Fed. R. Civ. P. 45 Application Note), then future plaintiffs and subpoena recipients will be

incentivized to engage in bad faith litigation and dilatory tactics. If Compass’s behavior is not

sanctioned, it will incentive the filing of baseless actions that force non-parties to run up legal fees.

Likewise, if Elliman is not reimbursed, subpoena recipients will be incentivized to delay and



4
          Compass chides Elliman for citing relevant law from the Sixth and Ninth Circuits. See Opp. at 7 n. 2. But
Compass should be wary of casting stones over the entirely appropriate practice of citing relevant (even if non-
binding) cases; Compass’s opposition, among other shortcomings, relies on inaccurate citations to reach mistaken
conclusions of law. For example, Compass cites Freydl for the false proposition that attorney’s fees under Rule
45(d)(1) are only appropriate if the party seeking fees brought a motion to quash. See Opp. at 8 (citing Freydl v.
Meringolo, 2011 WL 1344368, at *4 (S.D.N.Y. Mar. 31, 2011)). Compass’s false conclusion of law emanates from
the fact that it misattributed to the Freydl court language from the court’s opinion that was actually a quote from one
of the party’s arguments—language that the court in no way adopted. Compare Opp. at 8 with Freydl, 2011 WL
1344368, at *4. And Compass even misunderstood the statement that it misattributed to the court. The party was
not arguing that an award of fees under Rule 45(d)(1) requires the party seeking compensation to file a motion to
quash; rather, the party was arguing that the fact that it was required to bring a motion to quash supported an award
of fees. Id.



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contest the validity of subpoenas until the last possible moment. Corcoran chose an adversarial

strategy that required intervention from this Court, yet Corcoran only incurred approximately

$82,000 in fees. Elliman, meanwhile, cooperated with the utmost good faith, yet incurred over

twice as much as Corcoran in fees. The fees incurred from November 2022 through early

December 2022 are particularly egregious, because Compass failed to notify Elliman that it was

going to seek dismissal of its suit so that Elliman could stop reviewing and preparing documents

for production in response to Compass’s subpoena. Compass fails to provide any explanation for

that conduct other than to claim it had no obligation to notify Elliman. If Compass is not

sanctioned for this conduct and Elliman is not awarded its fees, Corcoran’s strategy will provide

future subpoena recipients with the most economically rational precedent for responding to

subpoenas.

                                           ARGUMENT
A.     All of Elliman’s Work Responding to Compass’s Subpoena
       That Should Not Have Been Issued Constitutes an Undue Burden

       Compass’s entire case was premised on an alleged conspiracy – to adopt Article II, Section

7 – that never existed. See generally ECF No. 1. The complaint refers to Article II, Section 7 no

less than 76 (seventy-six) times, including in its prayer for relief, which asked the Court to enjoin

the enforcement of that rule. See generally id. Like the complaint generally, the “Harm to

Competition” section focuses entirely on Article II, Section 7. Id. ¶¶ 106-111. And in pleading

the “contract, combination, or conspiracy” element of the antitrust counts under the Donnelly and

Sherman Acts, Compass alleged that “[t]he specific agreements at issue are the adoption and

selective enforcement of Article II, Section 7, and an agreement between REBNY and its co-

conspirators to prevent Compass from being able to hire and recruit qualified agents.” Id. ¶¶ 128,

137. Compass’s subpoenas on Elliman underscore the centrality of Article II, Section 7 to



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Compass’s case.         Compass’s very first document request was for “[a]ll documents and

communications concerning the development and adoption of Article II, Section 7” and its very

first deposition topic was “Elliman's involvement with and knowledge of the development and

adoption of Article II, Section 7[.]” See ECF No. 98, Ex A at 7, Ex. B at 7. Compass’s complaint

alleged in particular that “in January 2018, after a campaign spearheaded by Corcoran and Douglas

Elliman and in conjunction with REBNY as an independent entity, REBNY adopted Article II,

Section 7, of the UCBA….to impede competition, particularly from Compass[.]” ECF No. 1 ¶¶

61-63 (emphasis added).

         Compass’s complaint intentionally left out the fact that Robert Reffkin, Compass’s founder

and chief executive officer (and then-REBNY representative), voted on January 9, 2018 to adopt

Article II, Section 7—the very same rule that Compass falsely alleged “was conceived specifically

with thwarting Compass in mind.” ECF No. 1 ¶ 6; see also ECF No. 98 at ¶ 21. And Compass

does not now, because it cannot, deny that its founder and chief executive officer voted in favor of

Article II, Section 7. See generally Opp.5

         The fact that Compass voted in favor of adopting a rule, the adoption of which Compass

claimed was the central act of the alleged conspiracy, demonstrates unmistakably that Compass

should not have brought its case and should not have issued the corresponding subpoenas,

including those on Elliman. This is only underscored by the fact that Compass sought to

voluntarily dismiss its case before even receiving any fruits of discovery—a concession that, at

the very least, Compass thought its case was not worth maintaining. And “[w]hen a subpoena



5
         Compass complains that Elliman never provided documentary evidence of Reffkin’s vote to Compass, see
Opp. at 7 n. 3, but surely the emails by which the REBNY board voted to adopt Article II, Section 7—including the
affirmative vote by Compass’s founder and chief executive officer—are such documents that Compass would have
reviewed or should have reviewed before bringing an antitrust case premised on the adoption of Article II, Section 7.
In any event, as Elliman previously indicated, it is more than willing to share this evidence with the Court and
Compass, if requested.


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should not have been issued, literally everything done in response to it constitutes ‘undue burden

or expense’ within the meaning of Civil Rule 45([d])(1).” Breaking Media, Inc. v. Jowers, 2021

WL 1299108, at *7 (S.D.N.Y. Apr. 7, 2021) (citation and internal quotation marks omitted); see

also Opp. at 6, 8 (citing Breaking Media). Thus, “everything done” by Elliman “in response to”

Compass’s subpoenas “constitutes ‘undue burden or expense’” on Elliman “within the meaning of

[] Rule 45([d])(1).” Id.

       Indeed, the “case-specific” circumstances here present a particularly compelling instance

for a sanction under Rule 45(d)(1) and an award of fees to Elliman. See In re: Mod. Plastics Corp.,

890 F.3d at 251 (“Undue burden is to be assessed in a case-specific manner”). There is certainly

evidence that Compass knowingly filed a meritless case, and thus instituted its lawsuit and issued

the corresponding subpoenas in bad faith, yet bad faith is not even a prerequisite for an award of

attorney’s fees under Rule 45(d)(1). Id. Moreover, “undue burden” may be found under Rule

45 even where the materials sought are relevant to an ongoing dispute. See, e.g., In re Novartis &

Par Antitrust Litig., 2020 WL 3317203, at *6 (awarding non-party attorney’s fees, even though

“the materials requested by the subpoena are relevant to this complex dispute,” because

“complying with Plaintiffs’ subpoena would impose a burden on” the non-party subpoena

recipient); see also id. at *5 (“Trial courts have broad discretion to determine whether a subpoena

imposes an undue burden” and “courts are instructed to be especially solicitous of non-party

targets of subpoenas” (citation and internal quotation marks omitted)). A fortiori, “undue burden”

should be found here, where Plaintiff voluntarily withdrew its suit before even receiving any

discovery, indisputably rendering superfluous Compass’s subpoenas and all of Elliman’s efforts

in response.

       That Compass pled Elliman as a co-conspirator does not alter the conclusion that




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Compass’s entire subpoena placed an undue burden on Elliman. The cases Compass cites involve

completely different circumstances from those present here. For example, Compass cites Chevron

Corp v. Donziger three times, including for the proposition that “courts are reluctant to find an

undue burden” where the non-party is an alleged co-conspirator. See Opp. at 6, 9, and 11 (citing

2013 WL 1087236 (S.D.N.Y. Mar. 15, 2013)). But that case could not be further afield from the

situation here. Chevron Corp. involved a law suit brought by plaintiff Chevron Corporation

against dozens of individuals and their lawyers, in which Chevron alleged that the defendants

violated RICO by obtaining through fraud an $18.2 billion judgment against Chevron in an

Ecuadorian court. See 2013 WL 1087236 at *1. The court denied non-party law firm Patton Boggs

LLP’s motion for fees for responding to Chevron’s discovery requests, and in doing so, the court

explained that Patton Boggs had represented the plaintiffs in the Ecuadorian action (i.e., the

defendants in Chevron Corp.) and stood “to reap a fee that has been estimated at hundreds of

millions of dollars if the [Ecuadorian judgment] is enforced and collected.” Id. at *32. The court

further explained that Patton Boggs “has sued Chevron on its own behalf at least three times on

claims relating to this controversy.” Id. at 1. These considerations—not simply the mere fact that

Patton Boggs was an alleged co-conspirator—led the court to refer to Patton Boggs as “no

ordinary, unrelated non-party witness[.]” Id. at *32. Meanwhile, “[u]ndue burden is to be assessed

in a case-specific manner,” In re: Mod. Plastics Corp., 890 F.3d at 251, and none of Compass’s

cases deal with the scenario at issue here, where basic facts that the plaintiff knew or should have

known flatly disprove its allegations and the plaintiff itself sought dismissal of its own case, even

before receiving any fruits of discovery—thereby conceding that the case was, at the very least,

not worth maintaining, and thereby also conceding that the discovery obligations the case made

on subpoena recipients constituted unnecessary, superfluous, and undue burdens.




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         “A party or attorney responsible for issuing and serving a subpoena must take reasonable

steps to avoid imposing undue burden or expense on a person subject to the subpoena.” Fed. R.

Civ. P. 45(d)(1). Because Compass’s case should never have been brought, and its “subpoena

should not have been issued, literally everything done [by Elliman] in response to it constitutes

‘undue burden or expense’ within the meaning of Civil Rule 45([d])(1).”6 Breaking Media, Inc.

v. Jowers, 2021 WL 1299108, at *7 (citation and internal quotation marks omitted). Compass

admitted as much when it voluntarily dismissed its suit, before receiving any discovery, and

without citing any changes in REBNY rules or Elliman’s behavior.

B.       Compass Should Have Given Elliman Notice of its Plans to Dismiss its Suit

         Even if the entirety of Compass’s subpoena were not an undue burden on Elliman (which

it was), Compass further failed “to avoid imposing undue burden or expense on” Elliman when it

failed to notify Elliman that it was going to seek voluntary dismissal of its suit. See Fed. R. Civ.

P. 45(d)(1). Thus, for the period of at least November 2022 through early December 2022, there

is a second, independent reason for awarding Elliman its fees. There is no question that Compass

was aware that in October and November 2022, Elliman was in the thick of and completing a

review of tens of thousands of documents, and preparing a final production set—having been

prodded by Compass into doing so. See generally, e.g., ECF No. 98, Ex. E.7 Yet at the same


6
          Because of this, it is irrelevant that Compass’s counsel eventually agreed to narrow some requests (of
course, only after advocacy for which Elliman paid). See Opp. at 8-12. Every aspect of Compass’s subpoenas and
all of Elliman’s work in response constituted an undue burden and expense. Thus, whatever steps Compass did take
to narrow its subpoenas were not sufficiently “reasonable” so as “to avoid imposing such a burden.” Breaking
Media, 2021 WL 1299108 at *7.
7
          Compass’s false claim that the parties did not reach agreement on the final search string, see Opp. at 13,
would be irrelevant even if it were true. Compass would still have been aware of the fact, as discussed multiple
times on meet-and-confers and memorialized in email correspondence, that Elliman was preparing a production set
based on fourteen other search strings for four custodians (and was aiming to have a complete set ready by the end
of November). In any case, Compass’s claim that agreement was not reached on the fifteenth term is based on the
fact that Elliman never responded to an email in which Compass stated it was “willing to accept [Elliman’s]


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time, Compass was considering—and at some point, decided to seek—voluntary dismissal of suit.

Certainly Compass did not decide out of the blue on the morning of December 9 to dismiss this

suit, yet it never told Elliman to halt its work.

         Compass responds to this point only to say it had no obligation to notify Elliman. See Opp.

at 12-13. This response goes to the very heart of the matter and Rule 45. By claiming it “is aware

of no such duty” (id. at 12) to inform Elliman that it would be dismissing its case, Compass admits

it never saw itself as responsible to “take reasonable steps to avoid imposing undue burden or

expense on a person subject to the subpoena” as required under the law. Fed. R. Civ. P. 45(d)(1).

         But Compass’s duty to inform Elliman is plain from the face of Rule 45, as acknowledged

by one of the cases cited in Compass’s Opposition. By failing to prevent Elliman from the further

expense of conducting a document review Compass knew was superfluous, Compass “breached

the Rule 45([d])(1) duty” because it was “informed of circumstances that rendered compliance

unduly burdensome or expensive but declined to take reasonable steps to alleviate the situation.”

In re Rezulin Prod. Liab. Litig., 2003 WL 21285537, at *2 (S.D.N.Y. June 4, 2003) (cited by

Compass at Opp. at 5, 10, and 13).


                                                 CONCLUSION

         For all the foregoing reasons, the Court should grant non-party Elliman’s Motion in its

entirety and grant such other and further relief as it deems just and proper.




counterproposal” for the final search string, subject to the correction of two typos that were relics from Compass’s
original proposal. See ECF No. 98, Ex. E at 1. Compass’s acceptance of Elliman’s counterproposal constituted the
parties’ agreement; Compass did not think and had no reason to think—especially given the utmost good faith that
Elliman demonstrated throughout—that Elliman would object to the correction of two typos.


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Dated: February 21, 2023
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